Case 5:24-cv-00088-JSM-PRL Document 14 Filed 04/23/24 Page 1 of 3 PageID 59



                       UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF FLORIDA
                               OCALA DIVISION

 SHAWNTE M. SPEED,

        Plaintiff,                                  Case No. 5:24-cv-00088-JSM-PRL

 v.

 RENT RECOVERY SOLUTIONS, LLC,
 and VENTRON MANAGEMENT, LLC,
 d/b/a BROOKS CROSSING,

        Defendant.
                                                /

      JOINT MOTION TO REQUEST CASE MANAGEMENT CONFERNCE

       NOW COME SHAWNTE M. SPEED (“Plaintiff”) and RENT RECOVERY

SOLUTIONS, LLC (“Rent Recovery”), by and through their undersigned counsel,

and pursuant to the Order Referring Case to U.S. Magistrate Judge for IDEAL

Program, hereby requesting that this Honorable Court schedule a Case Management

Conference in this case and, in support thereof, stating as follows:

       1.     On February 23, 2024, Plaintiff filed this action alleging violations of the

Fair Debt Collection Practices Act (“FDCPA”) and the Florida Consumer Collection

Practices Act (“FCCPA”). [Dkt. 1]

       2.     On March 4, 2024, the Court issued the Order Referring Case to U.S.

Magistrate Judge for IDEAL Program (“Order”).




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Case 5:24-cv-00088-JSM-PRL Document 14 Filed 04/23/24 Page 2 of 3 PageID 60



       3.      The Order requires the Parties to file a motion requesting a Case

Management Conference before the assigned magistrate judge within seven (7) days

of the appearance of the first Defendant in the case.

       4.      On April 16, 2024, Rent Recovery appeared through its counsel and filed

an Unopposed Motion to Extend Time to File Responsive Pleading and other various

filings.1 [Dkt. 9-12]

       5.      In accordance with the Order, Plaintiff and Rent Recovery are filing the

instant motion to request a Case Management Conference.

       6.      Since both of the parties’ counsel are not based in Florida, the parties

respectfully request that this Honorable Court allow the parties’ counsel to appear

virtually for the Case Management Conference.

       WHEREFORE, Plaintiff and Rent Recovery respectfully request that this

Honorable Court set a date for the Case Management Conference and allow the

parties’ counsel to appear virtually.

Dated: April 23, 2024                          Respectfully submitted,

/s/ Alexander J. Taylor                        /s/ Jonathan Aust
Alexander J. Taylor                            Jonathan Aust
Counsel for Plaintiff                          Counsel for Defendant
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1
 Defendant Ventron Management LLC (“Ventron”) was served on March 25, 2024 [Dkt. 7] and has not
appeared or otherwise responded to Plaintiff’s complaint. Ventron’s responsive pleading is past due and
Plaintiff intends on filing a motion for entry of default in short order.
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Case 5:24-cv-00088-JSM-PRL Document 14 Filed 04/23/24 Page 3 of 3 PageID 61




                          CERTIFICATE OF SERVICE

      I hereby certify that on April 23, 2024, a true and correct copy of the above

and foregoing was served by email on those parties receiving electronic notice

through the Court's CM/ECF system.

                                              / s/ Alexander J. Taylor




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